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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 LARRY GOLDEN,

                Plaintiff, pro se,
                                               No. 23-811 C
        v.
                                               Senior Judge Eric G. Bruggink
 THE UNITED STATES,

                Defendant.



                   MOTION OF DEFENDANT, THE UNITED STATES,
                      TO DISMISS PLAINTIFF’S COMPLAINT




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July 14, 2023                          The United States
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       For over a decade, Plaintiff Larry Golden has fruitlessly pursued allegations of patent

infringement against Defendant the United States (the Government) in this Court. Mr. Golden

first filed suit against the Government in May 2013 in Golden v. United States, No. 13-307

(“Golden I”), alleging that a Department of Homeland Security initiative titled “Cell-All”

infringed one of his patents. See Golden v. United States, 2021 WL 3238860, at *1 (Fed. Cl.

July 29, 2021).

       In the eight years that followed the initial filing of Golden I, Mr. Golden subsequently

amended his complaint six times in that case, with each amended complaint asserting different

patent claims and accusing different products of infringement. Id. at *1–2. As this Court

observed, each time the Government or the Court pointed out a deficiency in Mr. Golden’s

infringement theories, “Mr. Golden did as he has done for many years now, simply brought in

another party and device.” Golden v. United States, 156 Fed. Cl. 623, 629 (2021). Ultimately,

the Court dismissed the sixth amended complaint in Golden I with prejudice:

               Plaintiff has had eight years to come up with a plausible theory of
               infringement against the United States and the third parties whose
               products he alleges were made at the behest of the government.
               Mr. Golden has amended his complaint six times in response to the
               government’s objections to the shortcomings in his pleadings. As
               we warned earlier, failure to produce a sufficiently detailed claim
               chart would cause the court to assume that it cannot be done. That
               has happened. Enough time and resources have been expended by
               the court and the Department of Justice dealing with these
               allegations.

Id. at 632, aff’d, 2022 WL 4103287, at *2 (Fed. Cir. Sept. 8, 2022) (“Despite having eight years

to develop his case and two chances to provide infringement contentions . . . Mr. Golden failed

to identify in the accused products at least two key elements claimed in his patents . . . .”).

       Mr. Golden’s present suit is yet “another attempt by Mr. Golden to circumvent prior

dismissals,” see Golden v. Apple Inc., 2023 WL 3400595, at *2 (Fed. Cir. May 12, 2023)



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(addressing an attempt by Mr. Golden to relitigate his already-dismissed patent infringement

claims against Apple in the Northern District of California). Indeed, Mr. Golden’s Complaint

expressly states that he seeks to resurrect Golden I, alleging that this new suit “respond[s] to”

and “cure[s] the deficiencies identified in Golden v. US CFC Case No. 13-307C.” Dkt. 1 at 5.

And while the new complaint is ostensibly directed to a new Government initiative and various

new accused products (Google Pixel smartphones), see generally id., Mr. Golden has repeatedly

confirmed that his infringement theories are “virtually identical” to those rejected by the Court in

Golden I, see, e.g., id. at 5 (¶ 17).

        Mr. Golden’s latest attempt to relitigate the same infringement theories that have been

repeatedly rejected by the Court in Golden I is barred by the doctrine of preclusion. And even if

the Court had not previously dismissed with prejudice what are essentially the same infringement

allegations, Mr. Golden’s present suit would still fail to plead any coherent theory of how the

Government allegedly infringes all the elements of any of his asserted patent claims. The Court

should once again dismiss with prejudice and without leave to amend Mr. Golden’s already-

litigated infringement allegations under Rule 12(b)(6) of the Rules of the United States Court of

Federal Claims (RCFC).

I.      FACTUAL BACKGROUND

        A.      Mr. Golden’s prior infringement suit against the Government (Golden I)

        Mr. Golden first began alleging that the Government infringed his patents in May 2013.

Golden v. United States, Case No. 13-307, Dkt. 1 (Fed. Cl. May 1, 2013). Mr. Golden ultimately

submitted his sixth and final amended complaint to the Court in Golden I in late 2020, after

repeatedly amending his complaint in that case to assert different claims from his patents and to

accuse various third-party products and Government initiatives of allegedly infringing those

claims. See Ex. 1 (Plaintiff’s Sixth Amended Complaint in Golden v. United States, Case No.


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13-307, Dkt. 195 (Fed. Cl. Nov. 3, 2020)). Mr. Golden’s sixth amended complaint in Golden I

alleged that the Government was the entity responsible for the “research and development,

manufacture, and commercialization” of each “improved cell phone, smartphone, smartwatch,

laptop, or tablet” sold by third-party technology companies such as Apple, Samsung, and LG, id.

at 3 & 6, and that such commercial smartphone devices infringed claim 1 of U.S. Patent No.

9,096,189 (“the ’189 patent”), claim 23 of U.S. Patent No. 9,589,439 (“the ’439 patent”), and

claim 5 of U.S. Patent No. 10,163,287 (“the ’287 patent”), among other claims, see id. at 5 & 8.

While that sixth amended complaint in Golden I did not specifically accuse Google smartphone

models of infringing the asserted patent claims, Mr. Golden describes his infringement theories

in Golden I as “virtually identical” to those he now asserts against Google products, see, e.g.,

Dkt. 1 at 5 (¶ 17), as discussed in detail infra.

        Mr. Golden was subsequently ordered by the Court in Golden I to serve infringement

contentions. After receiving Mr. Golden’s initial set of infringement contentions, the

Government moved to strike those contentions for failing to set forth a plausible case of

infringement for any asserted claim and any accused product. The Court granted the

Government’s motion to strike, finding that Mr. Golden’s contentions failed to identify where

multiple elements of each asserted claim were allegedly found in any accused device. See

Golden v. United States, 2021 WL 3238860 at *4–6. Then, the Court gave Mr. Golden one final

chance to prepare compliant infringement contentions, but warned that if he failed to do so, “the

[C]ourt will assume that it cannot be done and that the complaint should be dismissed.” Id. at

*7.

        Mr. Golden subsequently submitted “Corrected Preliminary Infringement Contentions,”

in which he alleged that products including the Apple iPhone 12, Samsung Galaxy S21, and LG




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V60 smartphones—which had not originally been accused in Golden I—infringed claim 1 of the

’189 patent, claim 23 of the ’439 patent, and claim 5 of the ’287 patent (among other claims).

See Ex. 2 (Plaintiff’s “Corrected Preliminary Infringement Contentions” in Golden v. United

States, Case No. 13-307, Dkt. 245 (Fed. Cl. Sept. 14, 2021)). The Government moved to strike

these “corrected” contentions, and the Court granted that motion as well, this time dismissing

Golden I with prejudice. Golden v. United States, 156 Fed. Cl. at 632. The Court explained that

rather than identify where the missing claim limitations were found in any accused device, Mr.

Golden instead “did as he has done for many years now, simply brought in another party and

device.” Id. at 629. The Court further noted “the overarching mystery present in all plaintiff’s

pleadings—how the government is on the hook for the private parties’ products.” Id.

Ultimately, the Court concluded that Mr. Golden could not plausibly support his infringement

claims against the Government. Id. at 632, aff’d, 2022 WL 4103287, at *2 (“Despite having

eight years to develop his case and two chances to provide infringement contentions . . . Mr.

Golden failed to identify in the accused products at least two key elements claimed in his patents

. . . .”).

             B.      Mr. Golden’s nine suits against private manufacturers in district courts

             After the filing of Golden I in 2013, but before the filing of his present case against the

Government, Mr. Golden filed nine separate suits against third-party electronics manufacturers

in the District of South Carolina and the Northern District of California.1 While three of the


             1
         The four cases in the District of South Carolina are: (1) Golden v. Apple Inc., Case No.
6:19-2557-DCC-KFM; (2) Golden v. Apple Inc., Case No. 6:20-cv-02270-JD; (3) Golden v.
Apple Inc., Case No. 6:20-cv-04353-JD; and (4) Golden v. Google, LLC, Case No. 6:21-cv-
00244-JD. The five cases in the Northern District of California are: (1) Golden v. Qualcomm,
Inc., Case No. 4:22-cv-03283-HSG; (2) Golden v. Intel Corp., Case No. 5:22-cv-03828-NC; (3)
Golden v. Apple Inc., Case No. 3:22-cv-04152-VC; (4) Golden v. Google LLC, Case No. 4:22-
cv-05246-HSG; and (5) Golden v. Samsung Elecs. Am., Inc., Case No. 3:23-cv-00048-WHO).


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Northern District of California cases are still pending or on appeal, to date none of these nine

district court cases has advanced past the pleading stage before being dismissed. See, e.g.,

Golden v. Apple, 2023 WL 3400595, at *2 (affirming the district court’s dismissal of Mr.

Golden’s complaint as frivolous and finding that Mr. Golden’s “allegations lack an arguable

basis in law or fact and are nothing more than another attempt by Mr. Golden to circumvent prior

dismissals in other jurisdictions”).

               1.      Mr. Golden’s district court suits against Google

       Two of Mr. Golden’s nine district court suits named Google as a defendant. The first of

those suits was filed in the District of South Carolina in January 2021. See Ex. 3 (Complaint,

Golden v. Google LLC, Case No. 6:21-cv-00244-JD, Dkt. 1 (D.S.C. Jan. 26, 2021)). The District

of South Carolina dismissed that suit with prejudice and without the issuance of service of

process on grounds of frivolousness. Golden v. Google, LLC, 2021 WL 5083804, at *1–2

(D.S.C. Nov. 2, 2021). The South Carolina court noted that “it appears that this action represents

Golden’s attempt to re-litigate claims against Apple and/or Qualcomm,” holding that “in light of

the vague conclusory allegations in the complaint in this action and Golden’s attempt to

circumvent the prior dismissals of his patent infringement claims, the instant matter is subject to

summary dismissal as frivolous.” Id.

       The Federal Circuit, however, vacated the District of South Carolina’s dismissal of Mr.

Golden’s suit against Google and remanded the case for further proceedings. Golden v. Apple,

Inc., 2022 WL 4103285 (Fed. Cir. Sept. 8, 2022). The appellate court noted that Mr. Golden’s

complaint against Google did not use the “exact same language” as his prior suits against other

defendants (such as Apple), and that the complaint was thus “not facially frivolous.” Id. at *2.

Accordingly, the Federal Circuit directed the district court to “allow the complaint to be filed and

request service of process.” Id. However, the Federal Circuit emphasized that it “express[ed] no


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opinion as to the adequacy of the complaint or claim chart except that it is not facially frivolous,”

and that the appellate court’s decision to remand “does not preclude subsequent motions to

dismiss by the defendant for failure to state a claim or for summary judgment.” Id.

        Before the District of South Carolina could act on the remanded case, however, Mr.

Golden filed a separate lawsuit against Google in the Northern District of California, again

alleging that the same Google products accused in the South Carolina case infringed the same

patent claims that he had asserted in South Carolina against those products. See Ex. 4

(Complaint, Golden v. Google LLC, Case No. Case No. 4:22-cv-05246-HSG, Dkt. 1 (N.D. Cal.

Sept. 14, 2022)). Accordingly, the District of South Carolina again dismissed Mr. Golden’s suit,

this time on the ground that it was duplicative. Golden v. Google, LLC, 2023 WL 3007187

(D.S.C. Apr. 19, 2023). Mr. Golden’s case against Google in the Northern District of California

is currently pending a decision by that California court on Google’s motion to dismiss.

        C.     Mr. Golden’s present infringement suit against the Government

        In the present suit, Mr. Golden accuses Google Pixel smartphones of infringing claim 5

of the ’287 patent, claim 23 of the ’439 patent, and claim 1 of the ’189 patent. See Dkt. 1 at 13–

19. Mr. Golden states that his complaint and claim chart in the present case are “practically

identical” to the complaints and claim charts filed in his district court suits against Google. Id. at

5 (¶ 15). 2



        2
         In the event that the Court does not wish to immediately dismiss this case, the
Government anticipates moving to stay the current litigation pending the Northern District of
California’s resolution of the earlier-filed and duplicative lawsuit filed by Mr. Golden against
Google. See Corning Glass Works v. United States, 220 Ct. Cl. 605, 607 (1979) (staying patent
infringement litigation against the United States pending the outcome of the plaintiff’s patent
infringement action against the supplier of the accused products in district court, where both
actions “involve the same patents and . . . the same issues of validity and infringement”); see also
Rice v. United States, 2006 WL 5627228, at *1 (Fed. Cl. Mar. 7, 2006). As discussed below,
however, Mr. Golden’s complaint does not plead any plausible theory of how the Government is


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       Mr. Golden previously claimed in Golden I that the accused Apple, Samsung, and LG

smartphones were developed as part of a Department of Homeland Security initiative known as

“Cell-All,” see Golden v. United States, 2021 WL 3238860 at *3 n.3 (“It is apparent that Mr.

Golden is alleging that the government caused the manufacture of the accused devices by third

party electronics manufacturers, such as LG, Apple, and Samsung, or caused these devices to use

his technology because of the DHS’ Cell-All project”). In contrast, Mr. Golden alleges in the

present suit that the Defense Threat Reduction Agency (“DTRA”) was responsible for “funding

of research that led to the development of the accused devices” by “Google, Apple, Samsung,

LG, Qualcomm,” and other third-party tech companies, see, e.g., Dkt. 1 at 9 (¶¶ 32–34).

       Mr. Golden states that the features of the Google smartphones that he now accuses of

infringement are “virtually identical” to those in the products he accused of infringement in his

Golden I suit against the Government, such as the Apple iPhone 12, the Samsung Galaxy S21,

and the LG V60. Id. at 5 (¶ 17); see also id. at 21–28, 29 (charts comparing the Google

smartphones to Apple, Samsung, and LG smartphones). 3 He alleges that the present suit

“respond[s]” to and “has cured the deficiencies identified in Golden v. US CFC Case No. 13-

307C”—his original Golden I suit against the Government alleging infringement by those same

Apple, Samsung, and LG smartphones. Id. at 5 (¶18).




allegedly liable for patent infringement under 28 U.S.C. § 1498, and there is no resolution of the
Northern District of California case that could cure this fundamental defect in the complaint.
       3
          In his subsequently filed motion for summary judgment, Mr. Golden again makes this
argument, repeatedly stating that the Google smartphones accused of infringement have
“‘virtually identical elements’ and features” as the Apple, Samsung, and LG smartphones that he
accused of infringement in his first infringement suit against the Government. See Dkt. 9 at 2–3.


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II.     RELEVANT LEGAL STANDARDS

        A.      RCFC 12(b)(6) – Failure to State a Claim Upon Which Relief Can Be
                Granted

        To survive a motion to dismiss under RCFC 12(b)(6), a complaint must contain facts

sufficient to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Bell Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint can be

dismissed on an RCFC 12(b)(6) motion “‘when its allegations indicate the existence of an

affirmative defense that will bar the award of any remedy.’” Corrigan v. United States, 82 Fed.

Cl. 301, 304 (2008) (quoting 5B Wright & Miller, Federal Practice & Procedure § 1357 at 708

(3d ed. 2008)). Such affirmative defenses that can be raised by a RCFC 12(b)(6) motion to

dismiss include “‘various types of estoppel’” and “‘the barring effect of res judicata and related

preclusional principles.’” Corrigan, 82 Fed. Cl. at 304 (quoting 5B Wright & Miller, Federal

Practice & Procedure § 1357 at 722, 728 (3d ed. 2008)); see also Palafox Street Assocs., L.P. v.

United States, 114 Fed. Cl. 773, 780 (2014) (citing Chisolm v. United States, 82 Fed. Cl. 185,

193 (2008)).

                1.      Claim Preclusion in Patent Infringement Cases

        In the Court of Federal Claims, “claim preclusion applies where: ‘(1) the parties are

identical or in privity; (2) the first suit proceeded to a final judgment on the merits; and (3) the

second claim is based on the same set of transactional facts as the first.’” First Mortg. Co. v.

United States, 961 F.3d 1331, 1338 (Fed. Cir. 2020) (quoting Ammex, Inc. v. United States, 334

F.3d 1052, 1055 (Fed. Cir. 2003)). In other words, “[u]nder the doctrine of claim preclusion, ‘a

judgment on the merits in a prior suit bars a second suit involving the same parties or their

privies based on the same cause of action.’” In re PersonalWeb Techs. LLC, 961 F.3d 1365,

1374 (Fed. Cir. 2020) (quoting Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 n.5 (1979)).



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“Claim preclusion bars both those claims that were brought as well as those that could have been

brought in the earlier lawsuit.” Id. (citing Brain Life, LLC v. Elektra Inc., 746 F.3d 1045, 1053

(Fed. Cir. 2014)). A “dismissal with prejudice . . . operate[s] as an adjudication on the merits for

claim preclusion purposes.” Id. at 1379 (citing Levi Strauss & Co. v. Abercrombie & Fitch

Trading Co., 719 F.3d 1367, 1372–73 (Fed. Cir. 2013)).

       “[U]nder well-settled principles of claim preclusion, different arguments or assertions in

support of liability do not all constitute separate claims.” Id. at 1375 (citing Foster v. Hallco

Mfg. Co., 947 F.2d 469, 478 (Fed. Cir. 1991)). “Regardless of the number of substantive

theories available to a party and regardless of the differences in the evidence needed to support

each of those theories, a party may not split a single claim into separate grounds of recovery and

raise those separate grounds in successive lawsuits.” Id.

       Whether two causes of action for patent infringement are the “same” for purposes of

claim preclusion “is an issue peculiar to patent law,” and this question is therefore analyzed

“under Federal Circuit law.” Id. (citing Acumed LLC v. Stryker Corp., 525 F.3d 1319, 1323

(Fed. Cir. 2008)). “Claim preclusion will generally apply when a patentee seeks to assert the

same patent against the same party and the same subject matter.” Senju Pharm. Co. v. Apotex

Inc., 746 F.3d 1344, 1349 (Fed. Cir. 2014) (citing Kearns v. Gen. Motors Corp., 94 F.3d 1553,

1557 (Fed. Cir. 1996)). “Subject matter is the same for claim preclusion purposes if the earlier

accused devices and the devices accused in the current action are ‘essentially the same.’” Huang

v. Huawei Techs. Co., 787 F. App’x 723, 726 (Fed. Cir. 2019) (quoting Foster, 947 F.2d at 479–

80)). The Federal Circuit has explained that accused devices are “essentially the same” for

purposes of claim preclusion if they are “materially identical . . . with respect to the pertinent

claim limitations at issue,” Nystrom v. Trex Co., 580 F.3d 1281, 1286 (Fed. Cir. 2009), and any




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“differences between them are merely ‘colorable’ or ‘unrelated to the limitations in the claim of

the patent,’” Acumed, 525 F.3d at 1324 (quoting Foster, 947 F.2d at 480).

       To be sure, “traditional notions of claim preclusion do not apply when a patentee accuses

new acts of infringement, i.e., post-final judgment, in a second suit—even where the products are

the same in both suits.” Brain Life, 746 F.3d at 1056. However, “[t]he Kessler Doctrine fills

[that] gap . . . allowing an adjudged non-infringer to avoid repeated harassment for continuing its

business as usual post final judgment in a patent action.” Id. (emphasis in original) (citing

Kessler v. Eldred, 206 U.S. 285 (1907)).

               2.      Preclusion under the Kessler Doctrine

       The Kessler doctrine bars assertion of claims “against essentially the same products made

or sold after the judgment of noninfringement in the earlier case, i.e., products that claim

preclusion could not reach because of their timing.” SimpleAir, Inc. v. Google LLC, 884 F.3d

1160, 1170 (Fed. Cir. 2018) (emphasis in original) (citing Brain Life, 746 F.3d at 1054, 1058–

59).

       For the Kessler doctrine to bar a patentee’s infringement claims, there is no requirement

that “the issue of noninfringement or invalidity be ‘actually litigated’” in the prior suit, In re

PersonalWeb, 961 F.3d at 1373—rather, a prior dismissal with prejudice (whether voluntary or

involuntary) “operat[es] as an adjudication of non-liability for infringement for purposes of

invoking the Kessler doctrine,” id. at 1379. See also Askan v. FARO Techs., Inc., 2023 WL

4101351 at *3–4 (Fed. Cir. June 21, 2023) (“dismissal with prejudice was an adjudication on the

merits for claim preclusion purposes, and the fact that it was involuntary is irrelevant to its

preclusive effect”).




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                3.      Pleading Standards for Pro Se Litigants

        Pleadings made by pro se litigants are “held to less stringent standards than formal

pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007). Nevertheless, while

this Court may excuse ambiguities in a pro se plaintiff’s complaint, the Court “does not excuse

[its] failures,” Henke v. United States, 60 F.3d 795, 799 (Fed. Cir. 1995), and “there is no duty on

the part of the trial court to create a claim which plaintiff has not spelled out in his or her

pleading,” Bondyopadhyay v. United States, 149 Fed. Cl. 176, 186 (2020) (citations omitted); see

also Golden v. Apple, 819 F. App’x 930, 931 (Fed. Cir. 2020) (“Although Golden appeals pro se

and is therefore entitled to a certain leeway in interpreting his complaint, we agree with the

magistrate judge’s conclusion that ‘the plaintiff’s vague and conclusory allegations fail to state a

claim for relief.’”).

III.    ARGUMENT

        A.      Mr. Golden’s patent infringement allegations that he characterizes as
                “virtually identical” to those raised in Golden I are barred by claim
                preclusion and the Kessler doctrine.

        By his own admission, Mr. Golden’s present case against the Government merely seeks

to re-litigate the same infringement theories that were dismissed with prejudice by this Court in

Golden I. Accordingly, Mr. Golden’s claims are barred by claim preclusion and the Kessler

doctrine, and the Court should dismiss Plaintiff’s complaint under RCFC 12(b)(6) for its failure

“to state a claim upon which relief can be granted.”

                1.      Mr. Golden’s allegations directed to activity preceding this Court’s
                        judgment in Golden I are barred by claim preclusion.

        Each of the elements of claim preclusion is met here. The parties in the present case—

Mr. Golden and the Government—are identical to the parties in Golden I. And this Court’s

dismissal of Golden I with prejudice, 156 Fed. Cl. at 632, aff’d, 2022 WL 4103287, at *2, was a



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final dismissal on the merits for purposes of claim preclusion, see In re PersonalWeb, 961 F.3d

at 1379.

        Further, the subject matter of this case is the same as that litigated in Golden I. See Senju

Pharm., 746 F.3d at 1349 (“Claim preclusion will generally apply when a patentee seeks to

assert the same patent against the same party and the same subject matter.”). Mr. Golden is

asserting the same patent claims (claim 5 of the ’287 patent, claim 23 of the ’439 patent, and

claim 1 of the ’189 patent), see Dkt. 1 at 13–19, that were asserted in Golden I, see Ex. 1 at 5.

And Mr. Golden’s own filings repeatedly acknowledge that—with respect to the limitations of

his asserted patent claims—the elements in the Google smartphones that he now accuses of

infringement are “virtually identical” to those in the Apple, Samsung, and LG smartphones that

he accused of infringement in Golden I. See, e.g., Dkt. 1 at 5 (¶ 17) (“The results are the same,

they all have virtually identical elements in their alleged infringing products); see also id. at 21–

31 (mapping the currently accused Google smartphones to the Apple, Samsung, and LG

smartphones accused in Golden I). Accordingly, for purposes of claim preclusion, the Google

smartphones accused of infringement here are “essentially the same” as the smartphones accused

in Golden I. See Acumed, 525 F.3d at 1324 (finding claim preclusion where “differences

between [accused devices] are merely ‘colorable’ or ‘unrelated to the limitations in the claim of

the patent’”) (quoting Foster, 947 F.2d at 480); see also Nystrom, 580 F.3d at 1286 (accused

devices are “essentially the same” for purposes of claim preclusion if they are “materially

identical . . . with respect to the pertinent claim limitations at issue”). Indeed, Mr. Golden states

that this suit is intended to “cure[]” and “respond[] to” “the deficiencies identified in” Golden I.

Dkt. 1 at 5 (¶ 18).




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       The facts of the present suit closely resemble the facts of Huang v. Huawei Technologies,

where the Federal Circuit affirmed a finding that a patentee’s infringement claims in a second

suit were barred by claim preclusion. 787 F. App’x at 723. In Huang, the patentee’s initial

patent infringement suit against a defendant was dismissed after a finding of non-infringement.

Id. at 724. That patentee filed a second infringement suit against that same defendant, alleging

infringement of the same patents asserted in his first case by “dozens of new accused products

and product families.” Id. But the Federal Circuit held that the infringement claims against

these new products were barred by claim preclusion, as “[a]ny alleged difference between the

accused products in each case” was “unrelated to the limitations in the claim of the patents,” and

the accused products in each case were thus “essentially the same . . . for purposes of claim

preclusion.” Id. at 726.

       Mr. Golden’s claims against any allegedly infringing activity that occurred before this

Court’s judgment in Golden I are thus barred by claim preclusion.

               2.      Mr. Golden’s allegations directed to post-Golden I activity are barred by
                       the Kessler doctrine.

       To the extent that Mr. Golden argues that his infringement allegations are directed to

activity that occurred after the issuance of the Court’s judgment in Golden I, any such claims

would be precluded pursuant to the Kessler doctrine, which “preclude[s] assertion of a patent

against even post-judgment activity if the earlier judgment held that ‘essentially the same’

accused activity did not infringe that patent.” SimpleAir, 884 F.3d at 1170 (quoting Brain Life,

746 F.3d at 1057–58). Here, as discussed supra, Mr. Golden is asserting the same patent claims

as Golden I against “virtually identical” activity as that accused in Golden I, see Dkt. 1 at 5 (¶

17) (“The results are the same, they all have virtually identical elements in their alleged

infringing products.”), 21–31. And the dismissal of Golden I with prejudice “operat[es] as an



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adjudication of non-liability for infringement for purposes of invoking the Kessler doctrine.” In

re PersonalWeb, 961 F.3d at 1379; see also Askan, 2023 WL 4101351 at *3–4.

        Mr. Golden’s claims against any alleged infringing activity that occurred after this

Court’s judgment in Golden I are thus barred by the Kessler doctrine. See Huang, 787 F. App’x

at 726 n.1 (“As for post-judgment activity, the district court findings that the Case 1 and Case 2

chips are essentially the same and its finding of non-infringement in Case 1, suffice to preclude

the claims at issue.”).

                3.        Mr. Golden’s interpretation of the Federal Circuit’s opinion remanding his
                          district court suit against Google is mistaken.

        Given this Court’s previous rulings in Golden I, Mr. Golden’s claims in the present suit

are entirely barred by claim preclusion and the Kessler doctrine, as discussed supra. However,

Mr. Golden offers that the Federal Circuit—despite its affirmance of this Court’s judgment in

Golden I, see 2022 WL 4103287, at *2—overruled this Court’s opinion in Golden I by

remanding a different suit filed by Mr. Golden in district court against Google. But Mr.

Golden’s understanding of that Federal Circuit opinion in the Google case—which appears to be

the fundamental rationale for his filing this present suit against the Government—is mistaken.

        As discussed above, the Federal Circuit remanded that district court suit against Google

after noting that Mr. Golden’s complaint against Google did not use the “exact same language”

as his prior suits against other defendants (such as Apple) and, therefore, the Google complaint

was “not facially frivolous.” Golden v. Apple, Inc., 2022 WL 4103285 at *2. Mr. Golden

characterizes that Federal Circuit opinion as “[t]he Federal Circuit disagree[ing]” with this

Court’s finding that Mr. Golden had failed to put forth any plausible infringement theory in

Golden I, Dkt. 1 at 5 (¶ 18). He argues that Federal Circuit opinion “binds this Court to follow

the legal precedent set by the Federal Circuit” and find that all products accused by Mr. Golden



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in Golden I and this case infringe his patents. Id. at 5 (¶ 16). See also Dkt. 9 at 3 (claiming—

incorrectly—that Mr. Golden’s infringement allegations against “the Google product, and the

products of Apple, Samsung, LG, and, Qualcomm . . . has already been review [sic] and

adjudicated at the United States Court of Appeals for the Federal Circuit.”).

       Mr. Golden’s characterization of that Federal Circuit opinion, however, relies on Mr.

Golden’s omission of key language from the opinion. 4 Mr. Golden’s excerpts from that opinion

(see Dkt. 1 at 4; Dkt. 9 at 3–4) pointedly omit the Federal Circuit’s statement that—while the

appellate court was permitting the complaint to be filed and served on Google—“[o]ur decision

does not preclude subsequent motions to dismiss by the defendant for failure to state a claim or

for summary judgment,” 2022 WL 4103285 at *2. And Mr. Golden’s mistaken interpretation of

that Federal Circuit opinion (as a judgment on the merits of infringement, see Dkt. 9 at 3) further

ignores the Federal Circuit’s statement that “[w]e express no opinion as to the adequacy of the

complaint or claim chart except that it is not facially frivolous,” 2022 WL 4103285 at *2.

       This Court’s holding in Golden I was affirmed by the Federal Circuit, not overruled as

Mr. Golden portrays. Mr. Golden’s claims in the present Complaint are thus entirely precluded.


       4
          This is not the first time that Mr. Golden has omitted key language from a Federal
Circuit opinion in seeking to relitigate a precluded claim before this Court. In Golden v. United
States, Case No. 23-185, Mr. Golden’s complaint repeatedly suggested that in a past case, the
Federal Circuit had overturned this Court’s holding and invited Mr. Golden to file a Fifth
Amendment takings claim against the Government based on the cancellation of his patent claims
in an inter partes review. But Mr. Golden’s argument in that case relied on omitting key
language from the Federal Circuit’s opinion. See Golden v. United States, 955 F.3d 981, 989–90
(Fed. Cir. 2020) (“The claims at issue were therefore cancelled as result of Golden’s own
voluntary actions. In these circumstances, cancellation of the claims in the government-initiated
inter partes review cannot be chargeable to the government under any legal theory.”).

        While this Court ultimately dismissed Mr. Golden’s complaint in Case No. 23-185 for
lack of jurisdiction because his claim was barred by the Court’s six-year statute of limitations,
the Court separately noted that the suit was “plainly barred by res judicata.” Golden v. United
States, Case No. 23-185, Dkt. 11 at 2 (slip op.) (Fed. Cl. May 30, 2023).


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       B.      Even if Mr. Golden’s patent infringement claims had not been previously
               fully litigated and dismissed with prejudice in Golden I, his new complaint
               would still fail to allege any plausible theory of infringement by the
               Government.

       Even assuming arguendo that Golden I had never been previously litigated and that

Golden’s allegations were thus not now barred by claim preclusion and the Kessler doctrine, his

complaint in the present case would still fail to state a claim upon which relief can be granted,

and the complaint should still therefore be dismissed under RCFC 12(b)(6). Mr. Golden’s

complaint both: (1) fails to plausibly explain how the Government is allegedly responsible for

infringing any of his asserted patent claims; and (2) as in Golden I, fails to plausibly plead

infringement for multiple limitations of each asserted patent claim.

               1.      Mr. Golden’s complaint fails to plausibly plead that the Government is
                       responsible for infringing any of his asserted patent claims.

       In its opinion dismissing Golden I, the Court noted “the overarching mystery present in

all of plaintiff’s pleadings—how the government is on the hook for the private parties’

products.” 156 Fed. Cl. at 629 (observing that each time the Government or the Court pointed

out a deficiency in his infringement allegations, “Mr. Golden did as he has done for many years

now, simply brought in another party and device”). That mystery is present in Mr. Golden’s new

complaint as well.

       Although Mr. Golden has now ostensibly redirected his patent claims that were

previously asserted in Golden I to a new Government agency (the DTRA), and new third-party

devices (Google smartphones), his complaint nowhere articulates a coherent, plausible theory for

how the Government is allegedly responsible for the use or manufacture of alleged inventions

disclosed in the asserted patent claims. And while Mr. Golden alleges that “DTRA Government

funding of research that led to the development and testing of the accused devices,” Dkt. 1 at 9 (¶

34), his complaint does not provide any evidence that Google’s accused commercial smartphone


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models (the oldest of which, the Google Pixel 3, was launched in 2018), see id. at 13, were

developed as part of the accused DTRA initiative (announced in 2019), id. at 7 (¶ 23).5

       Further, while the complaint alleges that the accused DTRA initiative led to the

development of a software application (ATAK), see id. at 9–11 (¶¶ 36–49), the complaint does

not allege that this application alone infringes any of the asserted patent claims—indeed, the

complaint repeatedly alleges that the accused Google smartphone models would infringe the

asserted claims even without the ATAK application, see id. at 29–31 (discussing “alternative[s]

to ATAK”). Instead, Mr. Golden’s allegations are directed to and rely on a haphazard collection

of third-party devices and software, including:

           •   “Google Nest x Yale Lock” and the “Nest app” to purportedly
               meet the locking/unlocking limitations of Mr. Golden’s asserted
               patent claims, Dkt. 1 at 15, 26, 27;

           •   A “wearable smartwatch” or “device mounted on a drone” to
               purportedly meet the sensor limitations of Mr. Golden’s asserted
               patent claims, id. at 16;

           •   Hypothetical sensors and software described in third-party papers
               and articles, id. at 30–32; and

           •   The “Loihi Neuromorphic Chip,” id. at 34.


       5
          Indeed, if Google’s accused commercial smartphone models had been developed and
manufactured pursuant to a Government contract and with the Government’s authorization and
consent (they were not), the Court would lack jurisdiction over this suit pursuant to 28 U.S.C.
§ 1500, because the accused products in this suit are identical to those in Plaintiff’s pending suit
against Google LLC in the Northern District of California (Case No. 4:22-cv-5246-HSG), as
Plaintiff concedes (Dkt. 1 at 5 (¶ 15)). See United States v. Tohono O’odham Nation, 563 U.S.
307, 318 (2011) (holding that a “substantial overlap in operative facts” between a district court
suit and a Court of Federal Claims suit “precludes jurisdiction” at the Court of Federal Claims).
However, Plaintiff has represented that he is not alleging in that Northern District of California
case that the Government is responsible for Google’s manufacture or use of the accused
smartphones. See Ex. 5 (L. Golden June 13, 2023 E-mail to G. Johnson) at 2 (“I never claim
[sic] Google was acting directly or indirectly under the authority of the United States”).
Accordingly, the Government’s understanding is that Plaintiff’s suit in the Northern District of
California is directed to non-Government manufacture and use of the accused Google
smartphones.


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       Because Mr. Golden’s complaint fails to plead any plausible theory for how the

Government allegedly infringes the asserted patent claims by use of the various private-party

devices and software accused in the complaint, the complaint fails to state a claim upon which

relief can be granted and must be dismissed under RCFC 12(b)(6).

               2.      Mr. Golden’s complaint fails to plausibly plead infringement for multiple
                       limitations of his asserted patent claims.

       In its opinion dismissing Golden I, the Court also agreed with the Government that Mr.

Golden had failed to allege that several elements of each of his asserted patent claims were met

by any of the accused products: Mr. Golden had “fail[ed] to specifically identify the hazardous

material sensors in any of the accused products” or to “identify in any of the accused devices

how the unlocking function is performed in response to the detection of a hazard.” 156 Fed. Cl.

at 627–28.

       Mr. Golden’s latest complaint is similarly deficient. The complaint does not plead (much

less establish) that sensors for detecting hazardous materials (or unlocking functionality

performed in response to detection of such materials) are found in any the accused commercial

smartphone models sold by Google—rather, he states that such functionality is performed by

third-party devices. See, e.g., Dkt. 1 at 16 (alleging that the “sensor” limitations of the asserted

claims could be met by a “wearable smartwatch” or “device mounted on a drone”). And Mr.

Golden’s recent motion for summary judgment (prematurely filed before the Government had

even responded to Mr. Golden’s complaint)6 further reinforces that Mr. Golden cannot plausibly


       6
         The Government is concurrently moving to stay briefing on Mr. Golden’s recently-filed
motion for summary judgment, which (1) will be rendered moot if the Court grants the present
motion to dismiss and (2) is clearly premature, as this Court has explained to Mr. Golden
following similar filings in Golden I. See, e.g., Golden v. United States, 137 Fed. Cl. 155, 187
(2018) (denying Mr. Golden’s “Motion for Leave to File a Motion for Summary Judgment” as
premature) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 326 (1986)).


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argue that any of the accused Google smartphones meets these elements of his asserted patent

claims. In his motion, Mr. Golden argues that there is “[n]o requirement for a . . . sensor located

inside the smartphones manufactured by Google, Apple, Samsung, LG, or Qualcomm.” Dkt. 9 at

12–13. Mr. Golden thereby tacitly admits that—as previously demonstrated by his deficient

infringement theories in Golden I—he cannot show that this element of his asserted patent claims

is met by any allegedly infringing device.

       In short, Mr. Golden’s latest complaint is a further illustration of the Court’s observation

in its opinion dismissing Golden I: that Mr. Golden is unable to set forth any plausible theory of

infringement against the Government. 156 Fed. Cl. at 632, aff’d, 2022 WL 4103287, at *2. The

complaint fails to state a claim upon which relief can be granted, and it must be dismissed under

RCFC 12(b)(6).

       C.      Mr. Golden should be denied leave to amend his complaint because any
               amendment would be futile.

       If Mr. Golden attempts to amend the allegations in his complaint yet again, the

Government respectfully submits that the Court should deny him leave to amend, as any

amendment would be futile. See Marchena v. United States, 128 Fed. Cl. 326, 330 (2016), aff’d,

702 F. App’x 988 (Fed. Cir. 2017). “An amendment is futile when the proponent of the

amendment cannot provide a colorable argument that the original or the amended claim will not

survive a dispositive motion.” Northrop Grumman Sys. Corp. v. United States, 137 Fed. Cl. 677,

682 (2016).

       In Golden I, this Court correctly held that Mr. Golden was unable to set forth “a plausible

theory of infringement against the United States and the third parties whose products he alleges

were made at the behest of the government.” 156 Fed. Cl. at 632. Since that opinion, other

courts have similarly recognized that Mr. Golden cannot plausibly plead infringement of any of



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his asserted patent claims, and they have similarly denied Mr. Golden leave to amend on grounds

of futility. See, e.g., Golden v. Intel Corp., 2023 WL 3262948 (Fed. Cir. May 5, 2023) (“Mr.

Golden has not explained in his briefing why it would not be futile for him to amend his

complaint”); Golden v. Apple, 2023 WL 3400595, at *2 (“These allegations lack an arguable

basis in law or fact and are nothing more than another attempt by Mr. Golden to circumvent prior

dismissals in other jurisdictions. After ten years of asserting these claims in multiple

jurisdictions, Mr. Golden has yet to cure the deficiencies in his allegations.”).

IV.    CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the Court dismiss

Plaintiff’s Complaint pursuant to RCFC 12(b)(6), with prejudice, and that the Court further order

that leave to amend the Complaint will be denied.

                                                 Respectfully submitted,

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 July 14, 2023                                   The United States




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                            CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing “MOTION OF DEFENDANT, THE

UNITED STATES, TO DISMISS PLAINTIFF’S COMPLAINT” was sent on July 14, 2023, via

e-mail and U.S. Mail, to:

                                     Larry Golden
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                                                /s/ Grant D. Johnson
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